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                               EASTERN DISTRICT OF CALIFORNIA
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11
     UNITED STATES OF AMERICA,              )   Case No. 2:17-cr-00189-WBS
12                                          )
                  Plaintiff,                )   MR. MARIFAT’S REPLY TO THE
13                                          )   GOVERNMENT’S OPPOSITION TO THE
14   v.                                     )   MOTION TO DISMISS THE
                                            )   INDICTMENT AS VIOLATIVE OF THE
15   YAMA MARIFAT,                          )   STATUTE OF LIMITATIONS
                                            )
16                Defendant.                )   Date: April 16, 2018
17                                          )   Time: 9:00 a.m.
                                            )   Ctrm: 5
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11
     UNITED STATES OF AMERICA,                         )       Case No. 2:17-cr-00189-WBS
12                                                     )
                       Plaintiff,                      )       MR. MARIFAT’S REPLY TO THE
13                                                     )       GOVERNMENT’S OPPOSITION TO THE
14   v.                                                )       MOTION TO DISMISS THE
                                                       )       INDICTMENT AS VIOLATIVE OF THE
15   YAMA MARIFAT,                                     )       STATUTE OF LIMITATIONS
                                                       )
16                     Defendant.                      )       Date: April 16, 2018
17                                                     )       Time: 9:00 a.m.
                                                       )       Ctrm: 5
18
                                                               I.
19
20                                                     ARGUMENT

21            A.       A Valid Waiver on Indictment Is Required to Toll the Statute of Limitations Pursuant
                       to 18 U.S.C. §§ 3282 and 3288
22
23            Unlike a misdemeanor offense that may be tried on an indictment, information or complaint,

24   a felony offense must be prosecuted by an indictment. See Fed. R. Crim. P. 7(a)(1)(B) and (2). It
25   is only when a defendant waives prosecution by indictment that a felony criminal prosecution may
26
     proceed by way of a criminal information. Id. at 7(b). Title 18 U.S.C. § 3282 provides that “... no
27
     person shall be prosecuted, tried or punished for any offense . . . unless the indictment is found or
28

     Mr. Marifat’s Reply to the Government’s Opposition to the Motion to Dismiss the Indictment as Violative of the Statute
     of Limitations
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 1   the information is instituted within five years next after such offense shall have been committed.”
 2
     Title 18 U.S.C. § 3288 permits the government to file an indictment after the limitations period has
 3
     run only where the information was instituted during the applicable statute of limitations period. Mr.
 4
     Marifat contends that an information filed without a valid waiver of indictments not instituted within
 5
 6   the meaning of 18 U.S.C. § 3282. See United States v. Machado, No. 04-10232-RWZ, 2005 U.S.

 7   Dist. LEXIS 26255 (D. Mass. Nov. 3 , 2005); United States v. Sharma, No. 4:14-CR-61, 2016 U.S.
 8
     Dist. LEXIS 66227 (S.D. Tex. May 19, 2016); see also Jaben v. United States, 381 U.S. 214 (1965).
 9
              The Government’s reliance on United States v. Charnay, 537 F.2d 341 (9th Cir. 1976), does
10
     not compel a contrary conclusion.              In fact, the legislative history relied upon in Charnay
11
12   underscore’s Congress’s understanding and interpretation that an information is not instituted

13   without a valid waiver of indictment. In Charnay, the defendant contended, among other things, that
14
     18 U.S.C. § 3288 applies only where the dismissal of the original indictment was defective due to
15
     a grand jury irregularity, but not where an information is dismissed for failure to state an offense.
16
17   Id. at 353. The Ninth Circuit explained that Congress amended the language of 18 U.S.C. § 3288

18   to correct a “loophole” when it became possible to charge by information, and that this change

19   extended the provisions 18 U.S.C. § 3288 to felony proceedings instituted by information as well
20
     as by indictment, thereby permitting the refiling of an information dismissed for failure to state a
21
     claim just as an indictment could be refiled for the same reason. Id. at 354. In holding that 18 U.S.C.
22
23   § 3288 applies to a properly instituted information, the Ninth Circuit specifically relied on a

24   Congressional statement that “[t]he amendments would therefore permit reindictment in similar
25   cases where an information was filed after the defendant waived in open court prosecution by
26
     indictment.” United States v . Charnay, 537 F.2d 341, 354 (9th Cir. 1976)(quoting Senate Report
27
     No. 1414, 2. U.S. Code Cong. and Admin. News 3257-3258 (1964)) (emphasis added.) The
28

     Mr. Marifat’s Reply to the Government’s Opposition to the Motion to Dismiss the Indictment as Violative of the Statute
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 1   legislative history relied upon in Charnay reflects Congress’s understanding that a prosecution is
 2
     instituted by information for the purpose of 18 U.S.C. § 3288 only where accompanied by a valid
 3
     waiver of indictment. Ibid.
 4
              The government also relies on the case of United States v. Burdix-Dana, in which the
 5
 6   government filed a criminal information charging the defendant with filing a false claim with the

 7   United States Treasury Department four days short of the expiration of a five year period of
 8
     limitations, and without a waiver of indictment. United States v. Burdix-Dana, 149 F.3d 741 (7tth
 9
     Cir. 1998). The Burdix-Dana Court held that the filing of the information was sufficient to institute
10
     a felony criminal case within the meaning of 18 U.S.C. §3282. However, the Seventh Circuit in
11
12   Burdix-Dana acknowledged that there was a “compelling” reason to be concerned about the danger

13   resulting from their decision, stating:
14
              By equating ‘instituted’ with ‘filed’ and then applying 18 U.S.C. §3288, we have
15            allowed prosecutors to file and information, wait indefinitely, then present the matter
              to a grand jury well beyond the statue of limitations but within six months of the
16            dismissal of the information. Id. at 743.
17
              The holding of Burdix-Dana is unpersuasive and should not be followed by this Court.1
18
              In United States v. Machado, No. 04-10232-RWZ, 2005 U.S. Dist. LEXIS 26255 (D. Mass.
19
20   Nov. 3, 2005), a Massachusetts District Court rejected the reasoning of Burdix-Dana as inconsistent

21   with the language of the statutes. First, the District Court noted that a court “has no subject matter

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23
     1
      Were this Court to accept the government’s argument, 18 U.S.C. § 3288 would permit the Government to
24   routinely escape the time limitations imposed by 18 U.S.C. § 3282 by filing an information, without having
     obtained a waiver of indictment, immediately before the limitations period is set to expire. In situations
25   where the government is unable or unwilling to obtain a grand jury indictment within the applicable time
     period, filing an information immediately before the expiration of the limitations period would effectively
26
     result in a six month extension of the limitations period. A defendant would not be able to obtain a dismissal
27   of the information until after the limitations period ends, and the Government would argue that 18 U.S.C.
     § 3288 permits the filing of an indictment at a later time. This result is not supported by the plain language
28   or intended purpose of the relevant statutes, and should be rejected.

     Mr. Marifat’s Reply to the Government’s Opposition to the Motion to Dismiss the Indictment as Violative of the Statute
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 1   jurisdiction over a prosecution in which the government has filed an information without obtaining
 2
     a valid waiver of indictment.” Id. at 5. The District Court explained:
 3
              Under the Federal Rules of Criminal Procedure, the government may prosecute non-
 4            capital felonies by information instead, but only when the defendant has waived
              indictment ‘in open court and after being advised of the nature of the charge.’ Fed.
 5
              R. Crim. P. 7(b). Thus, until a defendant has waived indictment pursuant to Rule
 6            7(b), an information filed with the clerk of court cannot perform the same charging
              function as an indictment. Indeed, a court in possession of an information but not in
 7            possession of a waiver of indictment lacks subject matter jurisdiction over the case;
              such an information is ‘virtually meaningless.’ United States v. Wessels, 139 F.RD.
 8
              607, 609 (M.D. La. 1991). Only when both the information and a valid waiver of
 9            indictment have been filed is the court vested with jurisdiction. See Young v. United
              States, 354 F.2d 449, 452 (10th Cir. 1965). It defies logic and reason that the court
10            may accept an information without waiver for the purpose of applying the statute of
              limitations, when that same document is ‘meaningless’ for purposes of subject matter
11
              jurisdiction and prosecution.
12
     Id. at 5-6.
13
14            The District Court similarly rejected the government’s attempt to distinguish 18 U.S.C. §

15   3282's requirement that the information be instituted within five years from the inability to prosecute

16   a defendant without a valid waiver of indictment. Id. at 6-7. The District Court dismissed the
17
     government’s argument that “something less is required to prosecute him on the charges contained
18
     therein”, stating that the government’s distinction between “prosecution” and “institution of charges”
19
20   is unsupported by their accepted meanings. Ibid. Ultimately, the District Court held that because

21   “an information is the functional and constitutional equivalent of an indictment only when

22   accompanied by a valid waiver of indictment, no reason exists why that rule should not apply in the
23
     statute of limitations context.” Id. at 7-8.
24
              The District Court in Machado relied upon an interpretation of the plain language of the
25
26   relevant statutes, and it is not an outlier. In United States v. Stewert, 425 F. Supp. 2d 727 (E.D. Va.

27   2006), cited by the government, the District Court acknowledged the dangers inherent in the holding
28   of Burdix-Dana, as articulated by both Machado and Burdix-Dana. Id. at 732, 734. Moreover, the
     Mr. Marifat’s Reply to the Government’s Opposition to the Motion to Dismiss the Indictment as Violative of the Statute
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 1   District Court acknowledged the logical correctness of the defendant’s position that “the information
 2
     could not be ‘instituted’ to toll the statute of limitations until Defendant waived indictment in open
 3
     court, as required by Rule 7(b) in order for prosecution by information to proceed.” Id. at 730. The
 4
     District Court explained that:
 5
 6            A plain and common-sense reading of Rule 7(b) and § 3282 would suggest
              Defendant has the better argument; however, the lion's share of the relatively sparse
 7            case law addressing this issue indicates otherwise. The text of Rule 7(b) appears to
              clearly provide that a defendant's waiver of prosecution by indictment occurs only
 8
              after the defendant, ‘in open court,’ is ‘advised of the nature of the charge and of the
 9            defendant's rights.’ On its face, the meaning of the rule is plain: a defendant cannot
              waive indictment until a court explains to the defendant the nature of his charge and
10            his rights. Indeed, the advisory note reveals the rule's obvious purpose, which is to
              contain ‘safeguards against improvident waivers.’ FED. R. CRIM. P. 7(b) advisory
11
              committee's note. It would therefore only be logical to presume that an criminal
12            information could not be ‘instituted’ for the purposes of the statute of limitations
              under § 3282 until the waiver of indictment occurred pursuant to the dictates of Rule
13            7(b). Otherwise, the ‘safeguards’ under the rule are hardly safeguards at all.
14
     Ibid.
15
              The District Court went on to acknowledge the “well taken” concerns of Judge Zobel in
16
17   Machado, but ultimately held that the doctrine of stare decisis required the District Court to issue

18   a contrary holding. Id. at 734-735.

19            Since Stewert, another district court questioned the correctness of the holding of Burdix-
20
     Dana. In United States v. Sharma, No. 4:14-CR-61, 2016 U.S. Dist. LEXIS 66227 (S.D. Tex. May
21
     19, 2016), the District Court held that “a proper reading of [18 U.S.C. § 3282] teaches that a felony
22
23   prosecution may be instituted by an information; however, it is possible only when the charged party

24   waives formal indictment.” Id. at 6. “[W]hen the indictment is not ‘found’ within five years the
25   charge cannot be prosecuted. Likewise, when the charge is ‘instituted’ within five years, the charged
26
     party must waive formal indictment within the statutory period, otherwise the charge(s) cannot be
27
     prosecuted after limitations is exhausted, with few or exigent exceptions.” Id. at 6-7.
28

     Mr. Marifat’s Reply to the Government’s Opposition to the Motion to Dismiss the Indictment as Violative of the Statute
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 1            The Court in Sharma disagreed with the broad holding of Burdix-Dana, specifically noting
 2
     that the Seventh Circuit did not give adequate consideration to the Supreme Court’s holding in Jaben
 3
     v. United States, 381 U.S. 214 (1965), addressed a similar situation involving the government’s
 4
     attempt to toll the statute of limitations with respect to a criminal complaint without fulfilling the
 5
 6   requirements necessary to prosecute the defendant pursuant to a criminal complaint. Id. at 8-10.

 7   Jaben is indeed instructive in the present situation.
 8
              In Jaben v. United States, the government filed a complaint against the defendant shortly
 9
     before the statute of limitations was set to expire, charging him with filing a false income tax return.
10
     Jaben v. United States, 381 U.S. 214, 216 (1965). The relevant statute of limitations period was six
11
12   years unless a “complaint is instituted before a commissioner of the United States” within the time

13   limitation. Id. at 215-216 (emphasis added). If the complaint is instituted within the time limitation,
14
     the time to file an indictment for the offense is extended by 9 months from the date of the complaint.
15
     Ibid.
16
17            Within 9 months of the filing of the complaint in Jaben, a grand jury superseded the

18   complaint procedure by returning an indictment against the defendant. Id. at 216. The defendant

19   moved to dismiss the indictment, arguing that the complaint was not instituted within the six year
20
     period because it did not establish probable cause that he had committed the offense, as was required
21
     to initiate a prosecution pursuant to a complaint. Ibid. The government argued that filing the
22
23   complaint within the time limitation was all that was required to institute a complaint, regardless of

24   whether the complaint sufficiently established the probable cause necessary to prosecute the
25   defendant pursuant to the complaint. Ibid.
26
              The Supreme Court disagreed with the government’s position, finding that it “would deprive
27
     the institution of the complaint before the Commissioner of any independent meaning which might
28

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 1   rationally have led Congress to fasten upon it as the method for initiating the nine-month extension.”
 2
     Id. at 218. The Court found that the government’s “interpretation does not reflect this statutory
 3
     intention, for it provides no safeguard whatever to prevent the Government from filing a complaint
 4
     at a time when it does not have its case made, and then using the nine-month period to make it.” Id.
 5
 6   at 220. The Court held that the better view was that the complaint was initiated for the purpose of

 7   the time extension only when it was “adequate to begin effectively the criminal process prescribed
 8
     by the Federal Criminal Rules.” Ibid.
 9
              In the present case, the logic and reasoning of Jaben applies with equal force to the initiation
10
     of a prosecution by way of an information. As acknowledged by numerous cases, the plain and
11
12   common-sense reading of Fed. R. Crim. P. 7(b) and 18 U.S.C. § 3282 requires a valid waiver of

13   indictment before a criminal information is “instituted” for the purposes of the statute of limitations
14
     under 18 U.S.C. § 3282. Jaben reinforces this conclusion in stating that a criminal complaint is only
15
     instituted when it is adequate to effectively begin the criminal process prescribed by the Federal
16
17   Criminal Rules. In is unquestionably true that a defendant cannot be prosecuted by an information

18   unless and until they waive prosecution by indictment. See Federal Rule of Criminal Procedure, Rule

19   7(b). Further, the Court’s conclusions in Jaben were justified by concerns about the government’s
20
     use of the complaint procedure to secure an extension of time, and those concerns mirror the
21
     concerns articulated by all of the courts that have considered the application of 18 U.S.C. §§ 3282
22
23   and 3288 to an information filed without a valid waiver.

24            As discussed above, the legislative history reveals that Congress interpreted the statutes to
25   “permit reindictment in similar cases where an information was filed after the defendant waived in
26
     open court prosecution by indictment.” United States v. Charnay, 537 F.2d 341, 354 (9th Cir. 1976)
27
     (quoting Senate Report No. 1414, 2 U.S. Code Cong. and Admin. News 3257-3258 (1964))
28

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 1   (emphasis added.) The statutory language is similarly clear that an information without a valid
 2
     waiver is insufficient to institute a prosecution of a criminal defendant. In total, the legislative
 3
     history, the plain language of the statutes, relevant Supreme Court case law, and several cases
 4
     addressing the issue support the conclusion that an information is not instituted until the defendant
 5
 6   provides a waiver of indictment in accordance with the Federal Rules. Such a conclusion has the

 7   benefit of being logically consistent with the statutory language and legislative history while
 8
     fulfilling the purpose of the statutes without the dangers inherent in the government’s approach.
 9
              In the present case, the waiver of indictment was part and parcel to Mr. Marifat’s plea, which
10
     has been withdrawn by this Court. As discussed below, the waiver is no longer valid. Without a valid
11
12   waiver obtained within the limitations period, no case was “initiated” that the government was able

13   to prosecute prior to the expiration of the limitations period. For the reasons stated above, the
14
     information filed without a valid waiver cannot extend the statute of limitations pursuant to 18
15
     U.S.C. § 3288.
16
17            B.       This Court’s Order Permitting Mr. Marifat to Withdraw His Plea Due to the
                       Insufficiency of the Rule 11 Colloquy Renders the Plea Agreement Void and
18                     Unenforceable, Including All of the Parties’ Obligations and Waivers Pursuant
                       Thereto.
19
20            In the present case, Mr. Marifat successfully moved to withdraw his plea based upon this

21   Court’s finding that the plea colloquy did not conform to the mandates of Federal Rule of Criminal

22   Procedure, Rule 11. See Dkt. 95. This Court held that “[a]n inadequate Rule 11 plea colloquy
23
     constitutes a fair and just reason for withdrawal under Rule 11(d)(2)(B). “ Id. (citing United States
24
     v. Mayweather, 634 F.3d 498, 510 (9th Cir. 2010); United States v. Ortega-Ascanio, 376 F.3d 879,
25
26   883 (9th Cir. 2004). This Court further found that the Rule 11 colloquy was insufficient to establish

27   that Mr. Marifat knowingly and voluntarily entered a plea in light of the magistrate’s failure to advise
28   him of his rights to subpoena witnesses, and testify and present evidence. Id. Finally, this Court
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 1   specifically found that the government did not meet its burden to show that the error was harmless.
 2
     Id.
 3
              The plea agreement obligated Mr. Marifat to waive indictment as a one of several quid pro
 4
     quo terms of the agreement. See Dkt. 11, p. 3. In accordance with the terms of the agreement, Mr.
 5
 6   Marifat waived his right to indictment in open court at the time that his plea was taken. The

 7   government now argues that Mr. Marifat’s waivers made in connection with the withdrawn plea,
 8
     specifically Mr. Marifat’s waiver of indictment, waiver of Federal Rules of Evidence, Rule 410, and
 9
     a waiver of the statute of limitations, are binding against Mr. Marifat even after the court ordered the
10
     plea agreement withdrawn due to a violation of Rule 11.2 The government is mistaken. The
11
12   obligations and concessions made pursuant to a plea withdrawn due to a Rule 11 violation are not

13   subsequently binding on parties.3
14
              When a defendant voluntarily chooses to withdraw his guilty plea, he voids his plea
15
     agreement, rendering its provisions unenforceable. See Fox v. Johnson, 832 F.3d 978, 986 (9th Cir.
16
17   2016). “When the district court exercises its power under the Federal Rules to reject a plea

18   agreement or permit a defendant to withdraw his plea, it is clear by implication that the parties are

19   consequently released from their obligations under the plea agreement.” United States v. Partida-
20
21
     2
22     Both the waiver of indictment and waiver of statute of limitations were part of a plea bargain since
     withdrawn, and directed at an information which has been dismissed and is now non-operative. The waivers
23   cannot be validly applied to a new charging document unrelated to a defunct plea agreement.

24   3
       The government’s position that all waivers entered as a part of a plea agreement are subsequently binding
     on a defendant after successfully withdrawing their plea in connection with a Rule 11 violation would lead
25   to an absurd result. Defendants, as part of entering into plea agreements with the government, routinely waive
     various Constitutional and statutory protections: such as the right to a jury trial, the right to confront
26
     witnesses, the right to subpoena witnesses and present evidence, the right to remain silent, etc. The
27   government’s broad assertion that waivers made pursuant to a plea agreement remaining binding after the
     plea is withdrawn would result in situations where the defendant no longer had the right to a jury trial, the
28   right to confront witnesses, the right to subpoena and present evidence, etc.

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 1   Parra, 859 F.2d 629, 634 n.6 (9th Cir. 1988); see also United States v. Jones, 469 F.3d 563, 566 (6th
 2
     Cir. 2006) (when a defendant succeeds in withdrawing a guilty plea entered pursuant to a plea
 3
     agreement, the plea agreement is “nullified” and “the government [is] no longer bound by its
 4
     promises therein”). Where a defendant is permitted to withdraw his plea due to the failure of the
 5
 6   court to properly advise him of his rights as required by Rule 11 so as to ensure a knowing and

 7   voluntary plea, the circumstances are analogous to a situation where the court rejects a plea
 8
     negotiated pursuant to Rule 11(c)(1)(C). In such a situation, the defendant is afforded the
 9
     opportunity to withdraw his guilty plea and “is not bound by the plea agreement.” Morgan v. United
10
     States District Court (In re Morgan), 506 F.3d 705, 709 (9th Cir. 2007).
11
12            The cases cited by the government do not compel a contrary conclusion. The government

13   relies upon several cases, mostly related to waivers of Rule 410 of the Federal Rules of Evidence,
14
     that do not stand for the broad propositions that the government asserts, and a review of the
15
     circumstances easily distinguish them from the present case.
16
17            In United States v. Mezzanatto, 513 U.S. 196, 210 (1995), the defendant entered into

18   discussions with the government in an effort to cooperate with their investigation, but the

19   government specifically conditioned those discussions on a waiver of his protections under Federal
20
     Rule of Evidence, Rule 410, permitting the substance of those discussions to be used to impeach the
21
     defendant in the event of a trial. Id. at 198. Mezzanatto addressed whether there should be a per se
22
23   rule precluding a defendant from ever waiving his protections under Rule 410. Id. at 197. Rejecting

24   such a per se rule, the Court held that, like most constitutional and statutory rights, a defendant can
25   waive Rule 410’s protections. Id. at 200-03. Mezzanatto did not involve a plea agreement, a
26
     withdrawn plea, a Rule 11 violation, or any facts similar to the present case. The fact that the
27
     protections of Rule 410 can be waived is a distinct and separate issue from whether provisions of
28

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 1   a plea agreement are enforceable after the plea is ordered withdrawn due to a failure of the district
 2
     court to advise a defendant of his rights, as required by Rule 11.
 3
              In United States v. Moore, No. 97-50336, 1998 U.S. App. LEXIS 24564 (9th Cir. Sep. 30,
 4
     1998) (unpublished), the defendant entered into a plea agreement that provided that in the event of
 5
 6   a breach of the agreement, her statements in court and before a grand jury could be used against her

 7   at a subsequent trial. Id. at 11-12. The defendant later breached the plea agreement by moving to
 8
     withdraw her plea in violation of the terms of the agreement. Id. at 12-14. The appellate court held
 9
     that the plea agreement expressly contemplated the use of the defendant’s testimony in the event of
10
     a breach of the plea agreement, and found no error in the district court admitting her statements at
11
12   trial. Ibid. Moore did not involve a defendant withdrawing their plea due to a Rule 11 violation in

13   connection with the taking of the plea.
14
              In Moore, the specific terms of the plea agreement conditioned the Rule 410 waiver upon the
15
     breach of the agreement. As Moore noted, situations involving a Rule 410 waiver will invariably
16
17   relate to agreements that expressly condition the waiver upon a defendant’s breach or withdrawal

18   from a plea agreement, otherwise there would be no relevant proceedings for the Rule 410 waiver

19   to apply.
20
              In the present case, the plea agreement contains no comparable language expressly
21
     conditioning the waiver of indictment upon a breach of, or withdrawal from, the plea agreement, nor
22
23   has Mr. Marifat breach the terms of the plea agreement. Instead, the current plea agreement contains

24   the waiver of indictment as one of the express quid pro quo obligations of the defendant made in
25   exchange for the promises made by the government. This Court permitted Mr. Marifat to withdraw
26
     his plea in light of a Rule 11 violation related to the magistrate’s failure to ensure that Mr. Marifat
27
     knowingly and voluntarily entered a plea by advising him of all of his rights. See Dkt. 95, p. 3.
28

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 1   Application of a waiver to a party that breached an agreement is entirely unrelated to a circumstance
 2
     where a plea is withdrawn due to a Rule 11 violation. The obligations of both parties are nullified
 3
     by this Court’s finding of a Rule 11 violation justifying Mr. Marifat to withdraw from the plea. See
 4
     Fox v. Johnson, supra, 832 F.3d at 986; Partida-Parra, supra, 859 F.2d at 634 n.6; Jones, 469 F.3d
 5
 6   at 566.

 7             In United States v. Transfiguracion, 442 F.3d 1222 (9th Cir. 2006), the parties negotiated an
 8
     agreement in which the government would dismiss an indictment charging several conspiracy counts
 9
     for money laundering and importing and distributing methamphetamine if the defendants agreed to
10
     cooperate with the government and plea guilty to an information containing charges of importing
11
12   methamphetamine between California and Guam. Id. at 1224. As agreed, both defendants waived

13   indictment and pleaded guilty to the importation charges contained in the information. Id. at 1225.
14
     The Ninth Circuit then decided a separate case that held that the smuggling of drugs from California
15
     to Guam did not constitute the crime of importation of a controlled substance into the United States.
16
17   Id. at 1226 (citing United States v. Cabaccang, 332 F.3d 622 (9th Cir. 2003).) The defendants did

18   not move to withdraw their guilty pleas, but successfully moved to dismiss the information on the

19   grounds that there was no longer a factual basis to support the conviction in light of Cabaccang. Ibid.
20
     The Ninth Circuit reviewed the terms of the “less-than-precise” plea agreement and concluded that:
21
               Just as ‘[a] plea agreement does not waive the right to bring a § 2255 motion unless
22             it does so expressly,’ … the plea agreements in this case did not prohibit [the
23             defendants] from moving to dismiss the importation charges based on the Cabaccang
               decision. Moreover, the defendants in this case sought to enforce the plea agreements'
24             prohibition on prosecuting them for other crimes once they cooperated; they did not
               act to reject, withdraw, vacate, or reverse the pleas required by the agreements.
25             Id. at 1224, 1232 (internal citations omitted).
26
               In Transfiguration, consistent with the terms of the plea agreement the defendants
27
     successfully attacked the charges to which they pleaded guilty based upon new case law, while
28

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 1   simultaneously seeking to enforce the provisions of the plea agreement. The government distorts the
 2
     requirement discussed in Transfiguration – that a waiver must be express – to argue that any express
 3
     waiver is valid despite the plea being withdrawn due to a Rule 11 violation that did not ensure that
 4
     the defendant’s plea was knowing and voluntary. Transfiguration did not involve a Rule 11
 5
 6   violation, a withdrawn plea, or the parties’ obligations under a withdrawn plea. Rather than support

 7   the government’s position, the Ninth Circuit expressly relied upon the fact that the defendants did
 8
     not seek to withdraw from their obligations under the agreement in order to enforce the plea
 9
     agreement’s provisions against the government.
10
              Finally, the government relies on the case of United States v. Jim, 786 F.3d 802, 807 (10th
11
12   Cir. 2015). In Jim, the defendant entered into a plea agreement that expressly stated that the

13   defendant waived the protections of Federal Rule of Criminal Procedure 11(f) and Federal Rule of
14
     Evidence 410 in the event of a later trial. Id. at 806. The defendant initially pled guilty to this
15
     offense, but later withdrew his plea and proceeded to trial. Id. at 804. When the defendant sought to
16
17   prohibit the use of his statements at trial, the Tenth Circuit discussed decisions enforcing Rule 410

18   waivers contained in plea agreements “consistent with the particular language of those waivers.” Id.

19   at 809 (citing United States v. Nelson, 732 F.3d 504, 512-13, 516-17 (5th Cir. 2013) (enforcing plea
20
     agreement's Rule 410 waiver against a defendant who did not enter a guilty plea as required under
21
     the plea agreement, where waiver expressly took effect if the defendant failed to enter the guilty
22
23   plea); United States v. Washburn, 728 F.3d 775, 780-82 (8th Cir. 2013) (holding plea agreement,

24   with its Rule 410 waiver, was binding on defendant once he signed the agreement and Rule 410
25   waiver remained enforceable, pursuant to its express terms); United States v. Quiroga, 554 F.3d
26
     1150, 1153-57 (8th Cir. 2009) (enforcing plea agreement's Rule 410 waiver that by its terms applied
27
     if the defendant breached the plea agreement, when the defendant breached the agreement by
28

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 1   withdrawing his guilty plea).) The Tenth Circuit relied upon the express language of the waiver,
 2
     which stated that it took effect at the time he signed the plea agreement, and the nature of a Rule 410
 3
     waiver, to find that the waiver in the plea agreement written and intended specifically to be operative
 4
     in circumstances where the defendant withdrew his plea, noting that a Rule 410 waiver would
 5
 6   otherwise serve no purpose. Id. at 809.

 7            The Tenth Circuit’s decision in Jim does not provide support for the government’s position
 8
     in this case. The plea agreement does not contain express language that demonstrates that the waiver
 9
     of indictment was intended to be operative under the specific circumstances where Mr. Marifat
10
     withdrew from the plea agreement. Moreover, unlike a Rule 410 waiver, which the Tenth Circuit
11
12   stated only serves a functional purpose in the event that a defendant withdraws from the plea, the

13   waiver of indictment was specifically designed to facilitate the plea without requiring the
14
     government to provide the protections of a grand jury indictment, rather than to operate in the event
15
     that Mr. Marifat’s plea was withdrawn. Nothing in the express language of the plea agreement, or
16
17   the nature of a waiver of indictment, indicates that the waiver was intended to operate specifically

18   in the event that Mr. Marifat withdrew from his plea.

19            Similarly, the government’s argument that Mr. Marifat waived any challenge to the statute
20
     of limitations fails for the same reason. The cases cited by the government emphasize the point made
21
     in Jim; a plea agreement that contains provisions that are to remain in effect in the event that the
22
23   defendant withdraws their plea must explicitly state that provisions remain in effect if the defendant

24   successfully withdraws their plea. See United States v. Midgley, 142 F.3d 174, 180 (3d Cir. 1998)
25   ([T]he government may seek to include a clause in future plea agreements whereby the defendant
26
     waives the statute of limitations defense as to dismissed counts if the defendant withdraws or
27
     challenges the guilty plea after the limitations period on the original charge has expired.’); see also
28

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 1   United States v. Podde, 105 F.3d 813, 821 (2d Cir. 1997) (We note that the government can avoid
 2
     similar results in future plea bargains by securing, from those defendants who are willing to give it,
 3
     a waiver of the statute of limitations covering those situations in which the defendant withdraws or
 4
     challenges his or her guilty plea after the limitations period on the original charges has expired.).
 5
 6   Having drafted the plea agreement in the present case, the government was fully capable of including

 7   language that expressly stated that the waiver of indictment and statute of limitations applied in the
 8
     event that Mr. Marifat successfully withdrew his plea. In fact, the government included a portion of
 9
     the agreement that reflected what was to occur in the event that Mr. Marifat withdrew from his plea,
10
     and neither the waiver of indictment nor the waiver of the statute o limitations is included in those
11
12   provisions.4 See Dkt. 95, p. 6.

13            Moreover, Jim did not involve the circumstances at issue here. Mr. Marifat moved to
14
     withdraw his plea specifically because the magistrate taking his plea failed to adequately advise him
15
     of his rights, as required by Rule 11. Separate and apart from the precise language of the plea
16
17   agreement, the very case relied upon by the government compels the result argued by Mr. Marifat

18   due to the inadequacy of the plea colloquy. Even according to the decision in Jim, if record does not

19   support a finding that the guilty plea is knowing and voluntary, then “any additional waivers in the
20
     plea agreement, including his Rule 410 waiver, would not have been enforceable.”5 Jim, supra, 786
21
22
     4
       Plea agreements are interpreted using the ordinary rules of contract interpretation. See United States v.
23   Transfiguracion, 442 F.3d 1222, 1228 (9th Cir. 2006). The fact that the government drafted an agreement
     that included a provision indicating what terms withstand a successful withdrawal from the plea, but did not
24   include either the waiver of indictment or the waiver of the statute of limitations, implicates both the canon
     of contra proferentem, the principle that ambiguities in contracts are to be construed unfavorably to the
25   drafter, and the canon of expressio unius est exclusio alterius, that the absence of any provision covering that
26   contingency when others are covered indicates that the provision was not part of the bargain struck by the
     parties. Id. at 1228, 1232.
27   5
      Under Jim, this would apply to all waivers contain in the plea agreement, including the waiver of Rule 410
28   that purports to apply in the event that Mr. Marifat successfully withdraws his plea. Further, the clause in
     the plea agreement purporting to waive his rights pursuant to Rule 410 applies only to statements made
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 1   F.3d at 809 (quoting United States v. Mitchell, 633 F.3d 997, 1001 (10th Cir. 2011); United States
 2
     v. Rollings, 751 F.3d 1183, 1186 (10th Cir. 2011)) (internal quotations omitted.) Therefore under
 3
     Jim, as well as Ninth Circuit cases discussing an inadequate plea colloquy’s effect on a waiver
 4
     contained in a plea agreement, where the plea is not knowing and voluntary even the waivers
 5
 6   expressly stated to be triggered by the defendant withdrawing his plea cannot be enforced.

 7            While the government argues that Mr. Marifat’s plea was knowing and voluntary, the
 8
     government ignores this Court’s finding with respect to the Rule 11 violation. Federal Rule 11 is
 9
     designed to ensure that a plea of guilty is knowing and voluntary. See, e.g., United States v. Jiminez-
10
     Dominguez, 296 F.3d 975, 977 (9th Cir. 1997). This Court already determined that the plea colloquy
11
12   failed to ensure that Mr. Marifat knowingly and voluntarily entered his plea, as the inadequacy of

13   the plea colloquy formed the very basis for Mr. Marifat’s motion to withdraw his plea. See Dk. 95.
14
     Further, this Court already held that the error was not harmless with respect to whether Mr. Marifat
15
     knowingly and voluntarily entered his plea. Id. The very circumstances of this case fit squarely
16
17   within the rule discussion in Jim.

18            This Court’s decision t o permit with Mr. Marifat to withdraw his plea based upon a Rule 11

19   violation more closely aligns with Ninth Circuit decisions holding waivers of appeal unenforceable
20
     due to an inadequate Rule 11 colloquy. See United States v. Portililo-Cano, 192 F.3d 1246, 1250
21
     (9th Cir. 1999)(defendant’s challenge to the “soundness of his plea allocution under Rule 11, . . .
22
23   goes to the heart of whether his guilty plea, including the waiver of appeal, is enforceable”); see also

24   United States v. Pena, 314 F.3d 1152, 1154 n.1 (9th Cir. 2003) (appellate waiver in plea agreements
25   unenforceable where plea not taken in accordance with Rule 11); United States v. Bibler, 495 F.3d
26
     “before or after” the plea agreement, but not to the plea agreement itself. See Dkt. 11, p. 6. The agreement,
27   drafted by the government, does not even purport to waive Mr. Marifat’s rights, pursuant to Federal Rules
     of Evidence, Rule 410, and Federal Rule of Criminal Procedure, Rule 11(f), as it relates to the plea agreement
28   and plea itself.

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 1   621, (9th Cir. 2007) (same).
 2
              For all the aforementioned reasons, the waivers contained in Mr. Marifat’s plea agreement
 3
     and not binding against Mr. Marifat in light of this Court’s order permitting him to withdraw his plea
 4
     based upon the magistrate’s failure to properly advise Mr. Marifat of his rights during the plea
 5
 6   colloquy, as required by Rule 11.

 7            C.       Any Statements in The Plea Agreement That Are Ascribed to Mr. Marifat, as Well
                       as Any Statements He Made During His Plea Hearing and the Written Waiver
 8
                       Executed Pursuant to the Agreement, Are Inadmissible and Cannot Serve to Show
 9                     a Waiver of His Right to Indictment.

10            The waivers made in connection with the plea agreement, including the waiver of indictment
11
     and waiver of statute of limitations, cannot be considered by this Court in connection with Mr.
12
     Marifat’s motion to dismiss the Indictment as violating the statute of limitations. The government
13
14   argues that Federal Rule of Evidence, Rule 410, applies only to a trial, and not to the present motion.

15   The government is mistaken.

16            Federal Rule of Criminal Procedure, Rule 11(f) provides “[t]he admissibility or
17
     inadmissibility of a plea, a plea discussion, and any related statement is governed by Federal Rule
18
     of Evidence 410.” Federal Rule of Evidence, Rule 410 explicitly states:
19
20            (a) Prohibited Uses. In a civil or criminal case, evidence of the following is not admissible
              against the defendant who made the plea or participated in the plea discussions:
21
                       (1) a guilty plea that was later withdrawn;
22                     (2) a nolo contendere plea;
23                     (3) a statement made during a proceeding on either of those pleas under Federal Rule
                       of Criminal Procedure 11 or a comparable state procedure; or
24                     (4) a statement made during plea discussions with an attorney for the prosecuting
                       authority if the discussions did not result in a guilty plea or they resulted in a later-
25                     withdrawn guilty plea.
26
     Federal Rule of Evidence, Rule 410 (emphasis added.)
27
              Rule 410 clearly applies to any evidence to be admitted against a defendant who made a plea
28

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 1   or participated in plea discussions, and Rule 410 clearly applies to the plea agreement and plea
 2
     proceedings. The waivers contained within the plea agreement, and made as part of his withdrawn
 3
     plea, constitute “evidence of . . . a guilty plea that was later withdrawn,” as well as “a statement
 4
     made during a proceeding” thereon and “a statement made during plea discussions.” Federal Rule
 5
 6   of Evidence, Rule 410.

 7            The government’s argument that Rule 410 applies only to a trial is untenable. The Federal
 8
     Rules of Evidence, Rule 1101, makes these evidentiary rules applicable to motions hearings, such
 9
     as the proceeding at hand. Specifically, Rule 1101 provides that it applies to “criminal cases and
10
     proceedings” before “United States district courts.” Federal Rule of Evidence, Rule 1101(a), (b).
11
12   Further, the present motion is one in which the Federal Rules of Evidence apply because there is no

13   applicable exception under Rule 1101(d). See e.g., United States v. Brewer, 947 F.2d 404, 410 (9th
14
     Cir. 1991)(Federal Rules of Evidence apply in pretrial suppression proceedings pursuant to Rule
15
     1101 because suppression hearing not expressly excluded under Rule 1101(d)); see also Beyene v.
16
17   Coleman Sec. Servs., Inc., 854 F.2d 1179, 1182 (9th Cir. 1988)(applying rules of evidence to civil

18   motion to dismiss because proceeding not listed as exception under 1101(d)). For this additional
19   reason, this Court must find that Mr. Marifat’s waiver of indictment is invalid and unenforceable.6
20
21
22
23
24   6
       As stated above, the purported waiver of Rule 410 contained in the plea agreement only applies to
     statements made “before or after” Mr. Marifat’s plea, rather than to the plea itself. See Dkt. 11, p. 6. Further,
25   under the reasoning of United States v. Jim, 786 F.3d 802, 809 (10th Cir. 2015), the waiver is invalid due
     to the Rule 11 violation that this Court acknowledged does not support a finding that Mr. Marifat’s guilty
26
     plea was knowing and voluntary, rendering his Rule 410 waiver unenforceable. To the extent that this Court
27   believes that further evidence is required to establish the lack of a knowing and voluntary plea, or a knowing
     and voluntary waiver of Rule 410, an evidentiary hearing would be required to determine whether Mr.
28   Marifat’s plea and/or waiver were knowing and voluntary.

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 1                                                            II.
 2
                                                     CONCLUSION
 3
              For the aforementioned reasons, Mr. Marifat respectfully requests this Court grant his motion
 4
     to dismiss the Indictment.
 5
 6   Dated: April 10, 2018                                 Respectfully submitted,

 7                                                         BAY AREA CRIMINAL LAWYERS, PC
 8
                                                       By: /s/David J. Cohen
 9                                                       DAVID J. COHEN, ESQ.

10                                                         Attorneys for Defendant Yama Marifat
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